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     UNITED STATES DISTRICT COURT                               ELECTRONICALLY FILED
     SOUTHERN DISTRICT OF NEW YORK
                                                                DOC #:
     FEDERAL TRADE COMMISSION and                               DA TE F-IL_E_D:._1~1 /t
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                                                                                         1.,- ~-
     THE PEOPLE OF THE STATE OF NEW YORK,
     by LETITIA JAMES, Attorney General
     of the State of New York,
                                                          17 Civ . 124 (LLS)
                                                           20 MC 0307 (LLS)
                                     Plaintiffs ,
                                                           OPINION & ORDER
                     - against -

     QUINCY BIOSCIENCE HOLDING COMPANY,
     INC., a corporation;
     QUINCY BIOSCIENCE, LLC, a limited
     liability company;
     PREVAGEN, INC ., a corporation d/b/a/
     Sugar River Supplements;
     QUINCY BIOSCIENCE MANUFACTURING,
     LLC, a limited liability company;
     and
     MARK UNDERWOOD, individually and as
     an officer of Quincy Bioscience
     Holding Company, Inc., Quincy
     Bioscience, LLC, and Prevagen, Inc.;

                                     Defendants .

           The core scientific research about which the issues in this

     case revolve is the 2009 - 2011 Madison Memory Study , about

     which the discovery has been abundant .          Its results were

     published on-line in 2011 , and all unprivileged data underlying

     it was furnished to the FTC years ago .


           Now in issue are more recent opinions and advice given to

     Quincy by a non - party , non - testifying expert Quincy retained in

      2016 , when the bringing of this case became apparently



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inevitable .         Georgetown Economic Services    ( " GES " ) is what

F . R . Civ . P . Rule 26(b) (4) (D)   calls an Expert Employed Only for

Trial Preparation .         It is not a party , will not testify , and was

retained only to consult confidentially with Quincy ' s counsel in

preparation of the defense of this and other anticipated and

pending litigation .         GES independently analyzed the Madison

Memory Study in a reappraisal a Quincy employee used in drafting

a manuscript regarding the study (the Lerner Manuscript ) .                Both

the reappraisal and the Lerner Memorandum have long since been

disclosed to the FTC .


      The FTC claims that those disclosures by Quincy waived the

protection Fed . Rules of Civil Proc . Rule 2 6 (b) ( 4) ( D) gives to

the work of such an expert engaged in aiding the preparation for

trial :


           Ordinarily , a party may not , by interrogatories or
      deposition , discover facts known or opinions held by an
      expert who has been retained or specially employed by
      another party in anticipation of litigation or to prepare
      for trial and who is not expected to be called as a witness
      at trial .  But a party may do so only :

               (i)       [in connection with the report of a court -
                         ordered physical or mental examination] ; or

               (ii)      on showing exceptional circumstances under
                         which it is impracticable for the party to
                         obtain facts or opinions on the same subject by
                         other means .

       The FTC contends that Quincy ' s disclosures of that material

to it constituted an involuntary "subject matter waiver" and


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that now the FTC is entitled , as a matter of fairness , to " all

documents relating to GES ' s clinical study work for Defendants

and , most critically , to all of the analyses GES performed on

the Madison Memory Study ." (FTC ' s May 22 , 2020 brief in the

District of Columbia , p . 8)     That is intended to include all

GES ' s communications of fact and opinion to Quincy on the

subject from 2016 to date.       The FTC argues that Quincy should

not be allowed to pick and choose , to disclose only what favors

it but to withhold what might be unfavorable ; and that the "FTC

is entitled to discovery of those documents as a matter of

fairness to put the disclosed GES results in proper context ."

Id ., p.   13 .


      Those familiar broad principles have considerable equitable

appeal , and are frequently employed in managing discovery issues

in the general run of cases .      However , they are less useful in

the special case , which is particularly addressed by Rule

26(b) (4) (D) , of a non - witness expert hired by one side for the

sole purpose of assisting with its trial preparation.


      The subject matter of this litigation is the Madison Memory

Study , and a waiver of protection with regard to that "subject

matter " would include all or most of the case .        There is no

indication that when Quincy gave the FTC the data underlying the

Study , it intended to later be required to disclose to the FTC



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the facts or opinions of non - testimonial experts on the subject

whom it consulted thereafter in preparing for trial .


         The FTC has accurately described this case as a

" straightforward , stand- alone law enforcement action brought by

Plaintiffs , the FTC and the People of the State of New York , to

challenge Defendants ' conduct in connection with their marketing

and sale of Prevagen for purported memory and other cognitive

benefits ."     Id . p . 20 .    There are no exceptional circumstances

shown to exempt this case from the Rule which exactly applies to

it .     The FTC has all the data underlying the study , the GES

reappraisal and the Lerner Manuscript .               It has had , and still

has , ample time to gather experts ' advice on the subject .


         Rule 26 (b) (4) (D) was enacted to support the values of

attorney work - product , client confidences , and privacy of trial

preparation .


         There is no basis or need for an intrusion into those

values and Quincy ' s preparation of facts and opinions in this

case .     The FTC can " obtain facts or opinions on the same subject

by other means ."       (Rule 26 (b) (4) ( D) (ii ) ) .


         The objections made at the Lerner depositions on August 6

and 7 are sustained .           The FTC ' s April 10, 2020 motion to compel

production of documents identified in the Dec . 11, 2019 GES



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subpoena is denied , and the subpoena is quashed .

      So ordered .

Dated :     New York , New York
            September 9 , 2020


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                                                    LOUIS L . STANTON
                                                         U. S . D. J .




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